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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,   )
                            )
         Plaintiff,         )
                            )
    v.                      )
                            )
ZEUANTRAY VERNER BARRY, )
ARTWON L. ROBINSON,         )
TROY PIERRE MCDONALD,       )
KEITH WESLEY, JR.,          )
JAMAL JESUS JUAN SWAIN,     )
JAMES LEE ECHOLS, II,       )
RALPH MCNEAL,               )                     Case No. 4:08CR405 CDP
ANDRENOS LAMAR POWELL,      )
SHAWN LAMONT WHITE,         )
MELVIN DARNELL CURTIS,      )
LARRY DARNELL SHELTON, JR., )
BAMBOYE A. BOWEN,           )
VIRGIL PRUITT,              )
CEDRIC ARNOLD RIGGINS, JR., )
BRANDON EWING,              )
KOVAR DEMOND MOORE and )
BRIAN ADOLPHUS CHASE,       )
                            )
         Defendants.        )

                                     ORDER

      This case is set for jury trial on February 17, 2009. Defendant Keith Wesley

has filed a motion for continuance. Another defendant recently asked that his

scheduled change of plea date be vacated because the government had filed a

criminal information charging him with prior convictions. Additionally, the
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Assistant United States Attorney has informed the court that counsel for defendant

Zeuantray Verner Barry has a medical problem and needs a continuance as well.

      There are seventeen defendants in this case. The government has produced

thousands of pages of documents in discovery, including recordings from several

Title III telephone interceptions. I find, pursuant to 18 U.S.C. §3161(h)(8), that the

ends of justice served by a short continuance of the trial outweigh the best interest of

the public and the defendants in a speedy trial. I will therefore continue the trial to

March 30, 2009, and I find that this elapsed time is excludable time under the

Speedy Trial Act. Given the complexity of the case, it is unreasonable to expect

counsel to have adequate time for effective preparation for trial within the time

limits imposed by the Act, even taking into account counsel’s exercise of due

diligence. Accordingly,

      IT IS HEREBY ORDERED that defendant Keith Wesley, Jr.’s motion to

continue [#344] is granted and the jury trial in this matter as to all defendants is reset

to Monday, March 30, 2009 at 8:30 a.m. in Courtroom 14-South.




                                            CATHERINE D. PERRY
                                            UNITED STATES DISTRICT JUDGE

Dated this 3rd day of February, 2009.

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